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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
COMMITTEE ON OVERSIGHT AND                            )
GOVERNMENT REFORM, UNITED STATES                      )
HOUSE OF REPRESENTATIVES,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                 v.                                   )     Case No. 1:12-cv-1332 (ABJ)
                                                      )
ERIC H. HOLDER, JR.,                                  )
in his official capacity as Attorney General of the   )
United States,                                        )
                                                      )
                              Defendant.              )
                                                      )


                                   JOINT STATUS REPORT

       Pursuant to this Court’s November 27, 2012 Minute Order, Plaintiff Committee on

Oversight and Government Reform, U.S. House of Representatives (“Committee”), and

Defendant Eric H. Holder, Jr., Attorney General, through counsel, respectfully submit this Joint

Status Report.

       1. Commencement of 113th Congress/Mootness.

       Plaintiff: The 112th Congress ended at noon on January 3, 2013, and the 113th Congress

commenced thereafter. See U.S. Const. amend. XX, §§ 1, 2; 159 Cong. Rec. H1, H5 (daily ed.

Jan. 3, 2013). On the afternoon of January 3, 2013, the House of Representatives, among other

things, adopted H. Res. 5, 113th Cong. (2013), and H. Res. 6, 113th Cong. (2013). See 159

Cong. Rec. at H22 (vote on H. Res. 5); id. at H23 (vote on H. Res. 6). House Resolution 5,

among other things, (i) authorized the Committee “of the One Hundred Thirteenth Congress to

act as the successor in interest to the Committee . . . of the One Hundred Twelfth Congress with
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respect to” this lawsuit, H. Res. 5, § 4(a)(2)(A)(i), reprinted in 159 Cong. Rec. at H8; (ii)

authorized the Chair of the Committee (when elected) “to take such steps as may be appropriate

to ensure continuation of” this lawsuit, H. Res. 5, § 4(a)(2)(A)(ii), reprinted in 159 Cong. Rec. at

H8; and (iii) authorized the Chair of the Committee (when elected) “to issue subpoenas related to

the investigation into the United States Department of Justice operation known as ‘Fast and

Furious’ and related matters.” H. Res. 5, § 4(a)(2)(B), reprinted in 159 Cong. Rec. at H8.

       By adopting H. Res. 6, the House, among other things, elected the Honorable Darrell E.

Issa as Chairman of the Committee for the 113th Congress. See H. Res. 6, reprinted in 159

Cong. Rec. at H23.1

       On January 3, 2013, after the House adopted H. Res. 5 and H. Res. 6, Chairman Issa

issued a new subpoena to defendant Eric H. Holder, Jr., a copy which is attached to the Notice

(Jan. 4, 2013) (ECF No. 31-1). The new subpoena is substantively identical to the October 11,

2011 subpoena which is attached as Exhibit A to the Complaint (Aug. 13, 2012) (ECF No. 1).

The new subpoena was served on counsel for the Attorney General, and the parties agree that

service has been properly effected. The response date on the new subpoena was January 7, 2013,

at noon. The response time has passed and no responsive documents have been produced by the

Attorney General to the Committee.

       Contrary to the Attorney General’s suggestion below, the Committee does not believe it

is necessary that the Complaint be amended in light of (i) the fact that the new subpoena issued

to the Attorney General on January 3, 2013, seeks identical documents over the same time period

as the subpoena issued on October 11, 2011, and (ii) the Notice (Jan. 4, 2013) (ECF No. 31)
       1
         H. Res. 5 and H. Res. 6, as adopted, also are available on-line at
http://www.gpo.gov/fdsys/pkg/BILLS-113hres5eh/pdf/BILLS-113hres5eh.pdf, and
http://www.gpo.gov/fdsys/pkg/BILLS-113hres6eh/pdf/BILLS-113hres6eh.pdf, respectively.
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filed by the Committee on January 4, 2013, which places on the record the pertinent facts

regarding the commencement of the 113th Congress and the issuance by Chairman Issa of the

January 3, 2013 subpoena to the Attorney General.

       Nevertheless, the Committee is prepared to amend the Complaint to recite the facts

relevant to the commencement of the 113th Congress and the issuance by Chairman Issa of the

January 3, 2013 subpoena to the Attorney General, in the event the Court believes such an

amendment is necessary or otherwise appropriate. The Committee does not believe, however,

that any such amendment would (i) in any way be relevant to any of the arguments advanced by

the Attorney General in support of his motion to dismiss (including the legal arguments set forth

below); (ii) require renewed negotiation between the Committee and the Attorney General

(particularly given that litigation counsel for both parties currently are engaged in settlement

discussions, and that counsel for the Committee communicated with counsel for the Attorney

General as recently as January 4, 2013, regarding settlement); or (iii) require any new briefing.

       Defendant: Because the House is not a continuing body, when the 112th Congress

adjourned on January 3, 2013, the subpoena that was the subject of this dispute expired, and the

dispute over that subpoena is therefore moot.

       The House of Representatives of the 113th Congress has passed a resolution authorizing

the newly constituted Committee on Oversight and Government Reform to continue this civil

action; the Committee has issued a new subpoena related to Operation Fast and Furious; and the

Counsel for the House has represented that this new subpoena seeks only the identical documents

over the same time period as the subpoena issued on October 11, 2011, in response to which

Defendant previously produced documents. There are certainly situations where the expiration

of a Congress and associated subpoenas would render the case moot, or where the doctrine of
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ripeness would prelude continued adjudication. In the particular circumstances here, however,

and based on the representations of counsel for the House regarding the scope of the new

subpoena, the Department does not believe that dismissal on ripeness or mootness grounds is

required.

       In Defendant’s view, the House Committee must at the least amend its Complaint. Even

assuming that the Committee’s January 4, 2013, “Notice” pursuant to Federal Rule of Civil

Procedure 25(d) is sufficient to address the change in parties, despite the fact that the 112th

Congress has ceased to exist as a legal entity, see Committee on Judiciary of United States House

of Representatives v. Miers, 542 F.3d 909 (D.C. Cir. 2008), such substitution of parties would

not reflect the issuance of the new subpoena. If sufficient amendment occurs, it is Defendant’s

view that the Court may proceed to address the justiciability issues presented in the pending

motion to dismiss.

       However, the Department does believe that the expiration of the subpoena and the

adjournment of the 112th Congress are relevant to the Department’s argument that related

Article III doctrines preclude maintenance of this litigation. In addition to the prudential reasons

already set forth in the pending motion to dismiss, a number of factors have changed with the

end of the 112th Congress, including new issues facing the parties in the wake of the elections,

and the formation of a new House Committee that has not engaged in a process of negotiation

and accommodation. These factors reinforce the conclusion that, as a matter of equitable

discretion, this case is not the one to depart from a long historical practice under which inter-

Branch subpoena disputes are resolved through negotiation, rather than by litigation.

       2. Settlement Discussions. The parties, through their counsel, met on December 7, 2012.

On December 28, 2012, defendant’s counsel sent a letter regarding settlement to plaintiff’s
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counsel. The response – from plaintiff’s counsel to defendant’s counsel – occurred on January 4,

2013. No settlement has been reached as of this date.

       3. Presidential Communications Issue.

       Plaintiff: At the November 27, 2012 status conference, counsel for the Committee raised

the question of whether the Attorney General contends that any documents that comprise the

Post-February 4 Subset, as defined in the Complaint at ¶ 62, are “presidential communications,”

subject to the “presidential communications privilege,” as that privilege has been described by

the D.C. Circuit in In re Sealed Case, 121 F.3d 729, 736-40, 744-45 (D.C. Cir. 1997). The

Attorney General’s response to that question has the potential to narrow the scope of the

litigation. To date, the Committee has not received a definitive answer to this question. The

Committee in no way concedes that the Attorney General properly may wait until this Court has

resolved the pending motion to dismiss before he “state[s] definitively whether he intends to rely

upon an assertion of the Presidential Communications component of Executive Privilege.”

       Defendant: As Defendant has previously informed Plaintiff, and as shown by the

Attorney General’s June 19 letter to the President setting forth the rationale for the President’s

assertion of Executive Privilege, the President did not assert the Presidential Communications

component of Executive Privilege over the documents at issue in this case. After further review,

defendant at this time does not anticipate relying on the Presidential Communications component

of Executive Privilege in this case. In any event, this issue is relevant only to the merits of this

lawsuit, which would be reached only after the Court rules on Defendant’s jurisdictional motion

and only if that motion is denied. If this lawsuit were to reach that stage, Defendant anticipates

being prepared to state definitively whether he intends to rely upon an assertion of the

Presidential Communications component of Executive Privilege.
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                     Respectfully submitted,

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January 7, 2012
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                                CERTIFICATE OF SERVICE

       I certify that on January 7, 2012, I served one copy of the foregoing Joint Status Report

by CM/ECF on all registered parties and by electronic mail (.pdf format), on:


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                                                    /s/ Kerry W. Kircher
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